Case 1:21-cv-00721-MAV-JJM

SFAFEUNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
SUPREME-COURT = COUNTY OF

CHRISTIAN POWELL
4+H-Barrett-Avenue
Jamestewnl879 Davis Street
Elmira, NY 4470414901

Plaintiff,

CITY OF JAMESTOWN
200 East Third Street
Jamestown, NY 14701

CIFY OF JAMESTOWN CLERKPOLICE OFFICER
200East-Fhird CARTER OBERGFELL

in their individual and official capacity

201 E 2nd Street.
Jamestown, NY 14701

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AMENDED SUMMONS
Civil Action No.:1:21-CV-
00721

-VS-

JAMESTOWN POLICE DEPARTMENTOFFICER
KEVIN WISE

in their individual and official capacity

201 EastE 2nd Street

Jamestown, NY 14701

JAMESTOWN POLICE OFFICER
MARK CONKLIN

in their individual and official capacity
201 E 2nd Street

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Jamestown, NY 14701

JAMESTOWN POLICE CHIZF-FIMOTHY JACKSONOFFICER

JOHN CONTI
in histheir individual and official capacity
201 EastE 2nd Street

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Jamestown, NY 14701

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3-N_ErieJAMESTOWN POLICE SERGEANT
OVEREND

in their individual and official capacity

201 E 2nd Street.

MayviteJamestown, NY 4475714701

450FFICER WARD
in their individual and official capacity

201 E-Chautauqua 2nd Street_
MayviteJamestown, NY 14475714701

CHAUTAUQUA COUNTY SHERIPE
ia his individual and-offieial-eapacity

JAMESTOWN and/or JAMESTOWN-
POLICE DEPARTMENT DETECTIVE MAGGIO

in their individual and official capacities-capacity

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COUNTY OF CHAUTAUQUA—and/or CHAU FAUQUA

COUNTY. SHERIFF'S _OFFICE ja their individual-and-official M5

201 E 2nd Street
Jamestown. NY 14701

Defendants.

TO THE ABOVE-NAMED DEFENDANTS:
Case 1:21-cv-00721-MAV-JJM Document 38-6 Filed 09/19/23 Page 3 of 49

YOU ARE HEREBY SUMMONED AND REQUIRED to serve upon the
plaintiff's attorneys, at the address stated below, a written Answer to the attached Complaint.

If this Summons is served upon you within the State of New York by personal service
you must respond within TWENTY (20) days after service, not counting the day of

‘service. If this Summons is not personally delivered to you within the State of New York you must

respond within THIRTY (30) days after service is completed, as provided by law.

If you do not respond to the attached Complaint within the applicable time limitation
stated above a Judgment will be entered against you, by default, for the relief demanded in the
Complaint, without further notice to you.

Plaintiff designates Chautauqua—CountyUNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK as the place of trial. -Fhe-basis-of venue is NY CPLR

504-

DATED: May24 2021 September 2. 2023
Hamburg, New York
SHAW & SHAW, P.C.

Blake Zaccagnino
Attorneys for Plaintiff

4819 South Park Avenue
Hamburg, New York 14075
(716) 648-3020 Telephone
(716) 648-3730 Fax
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SFATEUNITED STATES DISTRICT COURT
WESTERN DIST RICT OF NEW EES.

SUPRE}

CHRISTIAN POWELL
AMENDED COMPLAINT
Civil Action No.:1:21-CV-
00721

Plaintiff,

-VS-

CITY OF JAMESTOWN —

JAMESTOWN POLICE DEPARTMENFOFFICER
CARTER OBERGFELLJAMESFOWALPOLICE-CHIEF F
in histheir individual and official capacity

COUNTY OE CHAUTAUOUA

CHAUPAUYQUA-COUNFY SHERIF

JAMESTOWN POLICE OFFICER

KEVIN WISEin histheir individual and official capacity
DARPAT ANDRA

JAMESTOWN POLICE OFFICER
MARK CONKLINin histheir individual and official capacity

CHFY OF JAMESTOWN POLICE OFFICER
JOHN CONTIin their individual and official capacitvand/or

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JAMESTOWN POLICE SERGEANT
OVEREND in their individual and official capacity

JAMESTOWN POLICE DEPARTMENT OFFICER WARD
in their individual and official capacities-capacity

JOHN-DOES-I10-saied-names-being Hetitous-
butintendedto-be-ans-otherindividual/otcers-
invelvedinthesvithinincidentandemployees-ofthe-

COUNTY OF CHAUTAUQUA and/or CHAUTATIOUA

COUNTY SHERIFF’S-OFFICE JAMESTOWN POLICE DETECTIVE MAGGIO
in their individual and official capacities-capacity

Defendants.

Plaintiff, by his undersigned counsel, alleges, upon personal knowledge, and upon
information and belief as to all other matters, as follows:

1. This is an action to redress the_ deprivation by the defendants of the righ
secured to plaintiff by the United States Constitution, New York State Constitution, and federal and
state statute.

THE PARTIES

2. By virtue of the application of one or more of the exemptions listed in Section
1602 of Article 16 of the CPLR, the limitations and liability imposed by that Article do not apply to
the cause or causes of action set forth herein.

3. Plaintiff at all times hereinafter mentioned, was and continues to be, a resident
of the-Chemung County-ef Chautauqua-and-the State-of, New York.

4. Defendant CITY OF JAMESTOWN/CIFY-OF JAMESTOWN -CLERIC was
at all times hereinafter mentioned is a municipal corporation duly organized and existing under and
pursuant to the laws of the State of New York with offices for the conduct of its business located in

the CITY OF JAMESTOWN, County of Chautauqua and State of New York.

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5. Upon information and belief, 2n<-at all. times hereinafter mentioned, and ae] Formatted: Indent: Left: 0”, First line: 0"

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and/or agent-of defendant CIFY OF JAMESTOWN- and is- governed -by-the laws-of the State-of New.

¥erkcspecifically on December 10. 2020. defendant JAMESTOWN POLICE OFFICER CARTER

OBERGFELL is and was a resident of the City of Jamestown. State of New York, and was an

employee of the CITY OF JAMESTOWN _and JAMESTOWN POLICE DEPARTMENT, and was

in the course and scope of his duties as a police officer on the date and at the time of the within

incident.
6. Upon information and belief, at all times hereinafter
mentioned, and specifically on December 10, 2020, defendant JAMESTOWN POLICE OFFICER

KEVIN WISE is and was a resident of the City of Jamestown. State of New York. and was an

employee of the CITY OF JAMESTOWN and JAMESTOWN POLICE DEPARTMENT. and was

in the course and scope of his duties as a police officer on the date and at the time of the within

incident.

1 Upon information and belief, at all times hereinafter

mentioned, and_ specifically on December 10, 2020. defendant JAMESTOWN POLICE OFFICER

MARK CONKLIN is and was a resident of the City of Jamestown. State of New York. and was an

employee of the CITY OF JAMESTOWN _and JAMESTOWN POLICE DEPARTMENT. and was

in the course and scope of his duties as a police officer on the date and at the time of the within

incident,

8. Upon information and belief. at all times hereinafter

mentioned. and specifically on December 10. 2020. defendant JAMESTOWN POLICE OFFICER

JOHN CONTI is and was a resident of the City of Jamestown, State of New York. and was an

employee of the CITY OF JAMESTOWN and JAMESTOWN POLICE DEPARTMENT. and was

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in the course and scope of his duties as a police officer on the date and at the time of the within

incident.

9. Upon information and belief. at all times hereinafter

mentioned. and specifically on December 10, 2020. defendant JAMESTOWN POLICE

SERGEANT OVEREND is and was a resident of the City of Jamestown, State of New York. and

was an employee of the CITY OF JAMESTOWN and JAMESTOWN POLICE DEPARTMENT.

and was in the course and scope of his duties as a police officer on the date and at the time of the

within incident.
10. on information and belief, at all times hereinafter

mentioned. and specifically on December 10, 2020. defendant JAMESTOWN POLICE OFFICER

WARD is and was a resident of the City of Jamestown, State of New York. and was an employee o

the CITY OF JAMESTOWN and JAMESTOWN POLICE DEPARTMENT. and was in the course

and scope of his duties as a police officer on the date and at the time of the within incident.

I. Upon information and belief, -CHIZE TIMOTHY JACKSONat all times

hereinafter mentioned, and specifically on December 10, 2020, defendant_ JAMESTOWN POLICE

DETECTIVE MAGGIO is and was a resident of the City of Jamestown, State of New York, and

was an employee of the CITY OF JAMESTOWN and JAMESTOWN POLICE DEPARTMENT,
and was in the course and scope of his duties as a police officer on the date and at the time of the

within incident.

York-with-offices-_forthe transaction-of business in-Chautauqua—Countyand,as-such_is subjected-

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invelyved in the within ineid 2At and SRP Ox 2eS efth > Cf yI h y: £ IE £ } J A | TA I¢ LTA and/or
CHAUTAUQUA COUNTY SHERIFF'S OFFICE were-employees-of the COUNTY OF

—and-were-in-the-course-

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12. The defendant police officers are hereinafter referred to as
officers/employees.
CONDITIONS PRECEDENT
4413, Thaton February 1, 2021 Gamestewn-Defendants)-and February 2202+ |

(Chautaugua-Defendants)—the plaintiff caused the above named-defendantsCITY OF JAMESTOW

to be personally served with a Notice of Claim pursuant to the Laws of the State of New York

relating to the allegations of the Complaint herein.

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14. The Notice of Claims were served on the above mentioned
defendants within 90 days after the accrual of the respective causes of action.

4615. That on April 5, 2021, plaintiff submitted to an oral examination by the

defendants pursuant to Section 50-e of the General Municipal Law.

4716. That more than 30 days have passed since the service of the Notice of Claim
herein, the adjustment or payment of the claim has been neglected or refused, and the defendants

have failed, declined, or otherwise refused to pay the claim herein.

4817. That the plaintiff has otherwise exhausted any and all administrative remedies

relating to the action herein.

4918. This action has been commenced within 1 year and 90 days after the causes

of action herein accrued.

2019. Atthe time and place aforesaid, the defendants were in the course of their

employment.
FACTUAL BACKGROUND:
2420. This claim is for personal injuries and other damages sustained by
Plaintiff as a result of the acts of assault, harassment, battery, excessive force, untaw-ful
imprisonment, negligent hiring negligent training-negligent-retention,failure and delay in providing
medical treatment, failing to treat his medical conditions and prevent self harm, general negligence,
vicarious liability and violations of the Federal Civil Rights Law, The United States Constitution,

The New York State Constitution and the Amendments thereof, by all defendants.

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22 21. The Plaintiff's injuries were sustained on account of the
defendants’ intentional acts of assault, harassment, battery, excessive force, unlawfulimprisoamentL

negligent hiring -neclisenttraininge -neclsentretention-failure and or delay to provide the Plaintiff

with adequate medical care, failing to treat his medical conditions and prevent self harm, vicarious
liability and violations of the Federal Civil Rights Law, The United States Constitution, The New
York State Constitution and the Amendments thereof. The actions of the respondents also violated
the plaintiff's due process rights of the Fourteenth Amendment and Fourth Amendment including
but not limited to his substantive rights embodied therein.

2322. The amount of force used by defendants was used against the aa
purposely and knowingly, was objectively unreasonable and excessive force amounting to
punishment.

INCIDENT 1:
2423 The date when this claim arose and the Plaintiffs injuries and damages
herein alleged were sustained was on December 10, 2020.
2524. The location where this claim arose was outside of 111 Barrett Avenue,

Jamestown, NY and 201 East 2" Street Jamestown, NY 14701 (Upon information and belief, the}

above address is known as the JAMESTOWN POLICE DEPARTMENT Central Booking
Bureau)

SHERIFFS25. Specifically. on the day and time of this incident. JAMESTOWN POLICE

OFFICERS.270FFICER KEVIN WISE and JAMESTOWN POLICE OFFICER CARTER

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OBERGFELL responded to and were present on the scene. They were personally involved in using

excessive force in arresting the Plaintiff as is more fully described below. They were also

responsible for providing the Plaintiff with medical care on scene. for his custody care. control. and

supervision on scene. and to also prevent him from harming himself. When Plaintiff refers to

defendants/officers below in describing Incident 1. he is referring to the actions and personal

involvement of JAMESTOWN POLICE OFFICER KEVIN WISE and JAMESTOWN POLICE

OFFICER CARTER OBERGFELL on scene. as well as the CITY OF JAMESTOWN.

26. The Causes of Action which forms the substance of this claim arose is when
the Plaintiff was lawfully located at the location stated above, when he was assaulted, battered,
repeatedly grabbed, kneed, yanked his arms, threw him to the ground, placed handcuffs on him
extremely tight causing injury, and seized him without cause or provocation by the above named
police officers, and employees of the defendants herein.

2827. Upon information belief, the plaintiff suffers from mental health / other
health conditions that were known or should have been known by defendants.

2928. At the time of plaintiff's arrest, he asked defendants to send him to an
inpatient hospital to be treated for his mental health conditions mental state at the time. Defendants
refused to send plaintiff to the hospital or to provide him with a mental health evaluation. This
caused plaintiff injury and pain.

3929. The plaintiff was crying. He advised defendants that he had not slept in days,
that he had not seen his children, that he was stressed out, that he wanted to kill himself, including

but not limited to, that he has -PTSD.

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3430, After being advised of the above, the defendants remained on top of Plaintiff.
They allowed plaintiff to hit his head off of the ground multiple times causing injury. The officers
stood plaintiff up. Plaintiff advised that he felt he had a concussion.

3231. Plaintiff was placed ina Jamestown Police Vehicle en route to the
JAMESTOWN POLICE DEPARTMENT Central Booking Bureau-. Defendants allowed the
plaintiff to hit his head on the glass separating where he and the officers were sitting multiple
times, causing injury. Plaintiff screamed that he had a concussion and that he felt like he was going
to die. He again screamed that he had not slept in days. Defendants allowed Plaintiff to hit his head

on the above mentioned glass again, multiple times, causing injury. Plaintiff screamed that he was

going to die and that he could not feel his head. die-and+that-he-could netHleel his-head—

33 32. Plaintiff and defendants arrived at the JAMESTOWN POLICE
DEPARTMENT Central Booking Bureau-. When they arrived, an officer stated that Plaintiff was
fighting hard and that he would be going straight to the “chair” depending on his medical situation.
Upon information and belief, he was referring to a restraint chair meant to prevent prisoners from
self injury. An officer also stated that Plaintiff was bashing his head on a flash-light.

3433. When officers took Plaintiff out of the vehicle, they allowed Plaintiff to bash
his head- on the trunk of a police vehicle, causing injury. Officers brought Plaintiff into the station.
He

INCIDENT 2:

34. Once in the station, Incident 2. as is described below took

place. Specifically. on the day and time of this incident. JAMESTOWN POLICE OFFICER

MARK CONKLIN (who was working as the City Jailor) and JAMESTOWN POLICE SERGEANT]

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OVEREND responded to and were present on the scene. They were personally involved and were

responsible for providing the Plaintiff with medical care on scene. for his custody care, control. and

supervision on scene. and to also prevent him from harming himself. When Plaintiff refers to

defendants/officers below in describing Incident 2. he is referring to the actions and personal

involvement of JAMESTOWN POLICE OFFICER MARK CONKLIN and JAMESTOWN

POLICE SERGEANT OVEREND on scene, as well as the CITY OF JAMESTOWN.

35. _ Plaintiff screamed that his handcuffs were tight and asked officers to take
them off. Plaintiff stated he had not slept in days, that he hadn’t seen his children in weeks, that he
had no-one to talk to, that he had no-one, and that he had PTSD.

3536. Plaintiff stated to officers that he had not eaten, that he did not care what
happened to him, that he would rather kill himself then go to jail, and that he needed someone to
talk to. Plaintiff also stated to officers that he wanted to go to the hospital.

3637. Instead of sending Plaintiff to the hospital, placing him in a restraint
chair, and or providing him with a mental health evaluation, they handcuffed him to a bench at
the station. This delay/denial in care, failure to treat his medical condition, and failure to prevent
self harm caused plaintiff pain and injury. They did not put Plaintiff in a restraint chair to prevent
further self harm/injury. Plaintiff was handcuffed on the bench for a number of hours.

3738. Defendants allowed plaintiff to smash his hands on the bench and yank on
his- handcuffs, causing injury. Plaintiff stated to officers that he lost his kids and his heart was gone,
that he would rather kill himself, that he was psychotic, that he needed mental health help right now,

and told officers to use a'taser on him and to put a bullet in his head. Defendants allowed Plaintiff to

punch the wall and break his ankle-handcuffs, causing injury.

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3839. Plaintiff's mental health condition continued to deteriorate. Despite that,

defendants still did not send Plaintiff to a hospital or provide him with a mental health evaluation.
This caused him great pain and injury.

3940, Plaintiff again stated that he was going to kill himself. Officers allowed |
Plaintiff to hit his head off of the wall, causing injury. Plaintiff rambled, stumbled around,
stretched his full body out with his leg attached to a bench, and took his shirt off. Plaintiff yanked
his handcuffs on the bench, grabbed the phone off of the wall, violently clapped his hands, punched
the wall, fell off of the bench and landed on his side, hit his head on the wall, and rolled back and
forth moaning. The above and delay in his medical care caused Plaintiff pain and injury.

4041, Plaintiff stated to officers that he had been drinking for the past week-, that h
had not showered in days, that he was ready to kill himself, that he would rather be dead, that he has
no-body and he was ready to say bye, that he had explosive anger disorder, that he was getting
ready to kill himself and warned that officers better call someone in before he does it, that he was
ready to jump head first off of the bench, and that he might as well kill himself.

4142. Plaintiff's mental health condition continued to deteriorate. Despite that,
defendants still did not send Plaintiff to the hospital or provide him with a mental health
evaluation. This caused him great pain and injury.

42.43. The incident caused the claimant to be seriously injured.

INCIDENT 23:

B 44. _ Below is a description of Incident 3. Specifically. on the day

and time of this incident JAMESTOWN POLICE OFFICER JOHN CONTI(who was working as

the City Jailor). JAMESTOWN POLICE OFFICER WARD. and JAMESTOWN POLICE

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DETECTIVE MAGGIO responded to and were present on the scene. They were personally involved

and were responsible for using excessive force on the Plaintiff. providing the Plaintiff with medical

care on scene, for his custody care. control. and supervision on scene. and to also prevent him from

harming himself. When Plaintiff refers to defendants/officers below in describing Incident 3. he is

referring to the actions and personal involvement of JAMESTOWN POLICE OFFICER JOHN

CONTI(who was working as the City Jailor), JAMESTOWN POLICE OFFICER WARD, and

JAMESTOWN POLICE DETECTIVE MAGGIO on scene. as well as the CITY OF JAMESTOWN.

45. Hours later, plaintiff was arraigned. He was crying, trying to make statements
on the record, and acted erratically. His bazaar behavior from hours prior continued. Despite that,
defendants still did not send Plaintiff to the hospital or provide him with a mental health
evaluation. This caused him great pain and injury.

4446. After his arraignment, hours after he was brought to the station, plaintiff
ripped his Court paperwork up and threw it on the ground. Defendants brought Plaintiff to the
restraint chair. They allowed Plaintiff to hit his head on the metal bars in the jail area causing him

pain and injury.

4547. In the process of restraining plaintiff, defendants assaulted, battered,
slammed Plaintiff to the ground, and seized Plaintiff without cause or provocation. The Defendants
pulled Plaintiff's shirt over his head for a period of time while they restrained him. They allowed
Plaintiff to bang his head and neck on the back of the restraint chair. He was strapped down by

Defendants extremely tight. He asked officers to loosen his restraints. This caused him pain and

injury.

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4648. The Causes of Action which forms the substance of this claim also arose |
when the plaintiff was in the custody care and control of the respondents, when he was in need of
medical care, and the respondents failed, refused to, and or delayed to obtain such care for him, and
failed to treat his medical conditions and prevent self harm. _- |

AS AND FOR A SEPARATE

AND DISTINCT CAUSES
OF ACTION AGAINST ALL DEFENDANTS: |

1. NEGLIGENCE? U.S.C. § 1983 EXCESSIVE *——— Formatted: Indent: Hanging: 0.5"
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FORCE CLAIM:
4749. Plaintiff repeats and realleges each and every allegation contained in the
foregoing paragraphs of this Complaint as if the same were more fully set forth herein.

4850. That upon information and belief, the defendants were

negligent, reckless, careless, willful, and wanton in striking, pushing, pulling and throwing the
plaintiff to the ground, and failing to treat his medical conditions and prevent self harm, resulting
in serious and permanent bodily injuries to the plaintiff.

4951. Asaresult of the negligence of the defendants, the plaintiff was injured
internally, externally, and permanently in and about the face, head, back, chest, shoulders, limbs,
torso, and nervous system, so that he became and will continue to be disabled and will continue to
suffer pain and discomfort, distress, and psychological adjustment.

3952. That the plaintiff was at all times, using due care.

5453. That by reason of said injuries, the plaintiff required the services of
physicians, surgeons, nurses, hospitals, and medicines and will continue to incur such expenses in
the future; that as a result of the aforesaid injuries and the resulting disabilities, said plaintiff was

incapacitated from his normal activities, may be incapacitated in the future, and as a result of the
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aforesaid injuries, the future earning capacity of said plaintiff, has been partially and/or permanently
impaired, and as a result of the aforesaid, the plaintiff was otherwise damaged.

5254, That upon information and belief, the incident herein described and the
resultant injuries and damages sustained were caused as a result of the negligence, carelessness,
reckless and/or unlawful conduct on the part of the agents, servants and/or employees of all of the
defendants herein, more particularly:

-the defendants exercised their authority in an intentionally malicious and

careless manner causing serious and permanent injuries and/or damages to the

plaintiff;

-the defendants, their agents, servants and/or employees were negligent,

wanton and reckless in failing to properly supervise their employees;

-they allowed their employees and agents to subject claimant to physical
contact without cause or provocation, thus creating a dangerous or hazardous
condition, which they knew, or in the exercise of reasonable care, existed for a

period of time prior to the incident;

-that they failed to properly supervise their employees and the participating

officers in their activities;

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unskilled inexperienced_andswith-vielent propensities-and inability-te-

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properhtreat medical conditions and_prevent self harm:
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that the above named -officers/employeessvere incompetent insite and
possessed obvious-ielent propensities:
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knewnto-respondents>

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-the above conduct of the respondents was committed by persons acting

under color of state law; and their conduct deprived the plaintiff of his rights,

privileges, and immunities secured by the Constitution and laws of the United

States;

-their actions violated the claimant’s Fourth, Fifth, Eighth including but not

limited to Fourteenth Amendment Rights and was an unreasonable and

excessive use of force by police officers in the course of an arrest/pre-trial

detainment and their actions were not objectively reasonable;-

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-the defendants used the above force purposely and knowingly, and the force
used against him used on him was objectively unreasonable (Kingsley v.

Hendrickson, 576 U.S. 389);

- the defendants used excessive force because they gratuitously inflicted pain
on the plaintiff in a manner that was not reasonable in response to the

circumstances;

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-a reasonable jury would find that the officers acted not only unreasonably,
but that they were plainly incompetent and knowingly violated the law by

gratuitously inflicting pain on the plaintiff over an extended period of time;

-they failed in their affirmative duty to intervene to protect the constitutional
rights of the plaintiff from infringement by the other law enforcement officers
in their presence and the officers observed and had reason to know that
excessive force was being used on the plaintiff, that the plaintiff was being
unlawfully arrested/detained/excessive force was being used; and that a
constitutional violation was being committed by the other law enforcement

officers;
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-that upon information and belief, at all times hereinafter mentioned,
respondents, through their employees, agents, servants and contractors,
failed/delayed in rendering medical evaluation and attention to the plaintiff

and failed to treat his medical conditions and prevent self harm;

-that upon information and belief, at all times hereinafter mentioned,
defendants, through their employees, agents, servants and contractors,
failed/delayed to provide adequate and essential medical evaluation and care
and treatment to the plaintiff; they failed to address the plaintiff's serious

medical needs;

-the defendants acted with deliberate indifference to the plaintiff because he
was in need of medical care and they failed, or refused to, and or delayed to

obtain such care;

-the defendants failed to protect the plaintiff from health problems that were
sufficiently imminent and sure or very likely to cause him serious injuries and

needless suffering;

-that by reason of the carelessness, negligence and recklessness and medical
malpractice of the defendants through their employees, agents, servants and

contractors, in the medical care and treatment and services rendered to and for
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plaintiff/lack thereof, the plaintiff was caused to suffer severe and great
bodily injury with accompanying pain and suffering and sustained bodily and

emotional injuries of a permanent nature;

-that the policies and procedures, and the willful and wanton conduct of
defendants, their agents, servants and employees, reflect a reckless and
careless disregard and deliberate indifference for the rights of the plaintiff to
receive proper and adequate medical evaluation and attention so as to merit an

award of damages against defendants;

-the municipal defendants were liable under a theory of respondeat superior
for the above actions, including but not limited to, the arrest, assault, and
battery of the plaintiff and their failure to treat plaintiff's medical conditions

and prevent self harm;

-the defendants’ conduct violated the Fourth Amendment “reasonableness

standard”;

-the above conduct of defendants violated plaintiff's right to be free from
excessive force amounting to punishment protected by the Due Process Clause

of the Fourteenth Amendment;
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-the force used by defendants was purposefully and knowingly used against

them and was objectively unreasonable;

-they failed to provide plaintiff with reasonable care to protect him from risks
of harm that were reasonably foreseeable, i.e., those that they knew or should

have known;

-they breached their duty of care to protect Plaintiff from self-inflicted harm;

-the defendants knew and/or should have known that the plaintiff posed a risk
of harm to himself and failed to use adequate supervision to prevent that

which was reasonably foreseeable;

-the defendants violated 42 USC Section 1983 by depriving the injured
plaintiff of his Fourteenth Amendment right to adequate medical care, proper

medical care, and treatment;

-the deprivations alleged herein is objectively, sufficiently serious, and

defendants acted with deliberate indifference to plaintiff's health and safety;
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-defendants failed to treat his medical needs that produced physical pain and

injury;

-the defendants ignored plaintiff's psychiatric conditions causing him pain and

injury;

-defendants recklessly failed to act with reasonable care to mitigate the risk of
harm to plaintiff even though they knew or should have known that his

condition posed an excessive risk to his health and safety;

-defendants knew of plaintiff's serious medical need and failed to respond

reasonably to it;

-defendants denied plaintiff of mental health care and they acted with
deliberately indifferent to his conditions and the conditions of his

confinement;
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-defendants unconstitutionally delayed or interrupted plaintiff's
medical/mental health treatment in that it reflected a deliberate indifference to
a serious risk of his health and safety, in other words, to a life threatening or
fast degenerating condition of extreme pain that would have been alleviated

through prompt treatment; __ including but not limited to

-defendants failed to address plaintiffs depression and anxiety attacks,
propensity for self harm, failed/delayed in providing him with a mental health
evaluation, his suicidal thoughts, his PTSD, defendants had notice of
plaintiff's deteriorating condition, and their delay in treatment ran the risk of

and caused harm to plaintiff.

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That defendants affirmatively created the dangerous and defective condition
described herein, that included but is not limited to, placing the defendant employees, in a position to
cause foreseeable harm to the plaintiff (to be assaulted, not treating his serious medical needs, and
failing to treat his medical conditions and prevent self harm), that the plaintiff would have been
spared had they used reasonable care in making their decision regarding the hiring and retention of
the aforementioned defendant employees.

5456, That the defendants herein had actual and constructive knowledge of the
defective condition described above and in paragraph 5254 above.

5557. That the defendants had subjective and objective knowledge of the defendant

employees involved in the within incident propensity for conduct that caused the plaintiff's injuries,

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and that deficient training and supervision was a proximate cause of the plaintiff's injuries.

5658. That the conduct of all of the defendants herein amounted to more than mere
negligence, and instead, amounted to deliberate indifference to the plaintiff's safety.

5759. That the defendants provided grossly inadequate care and, in fact, took no
measures to provide for plaintiff's safety for an unreasonable and inordinate period of time.

5860. That the negligence of the defendants, and his resultant injuries, produced
physical injury to the plaintiff.

5961. That asa result of the foregoing, the plaintiff has sustained general and special
damages in an amount that exceeds the jurisdictional limits of all lower courts that would otherwise

have jurisdiction.

—______60.__PJaintiff-repeats-and restates_the alegations-contained in the-foregoing-
parggraphs of this £ omplaint as if the same SCE mere fiat + set forth herein:

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2. RESPONDEAT SUPERIOR/VICARIOUS LIABILITY
(Plaintiff does not claim this is a claim for relief, but claims
that the above doctrines are applicable to his underlying
Tort claims alleged herein)

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—____79. Plaintiff repeats and restates the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein.

$963. That on or about December 10, 2020 the defendant CITY OF JAMESTOWN:
and COUNTY OF CHAUTA QUA were, was responsible for the training, supervision, and actions
of the defendant officers.

8464. Onor about December 10, 2020 the defendant officers were acting within the
scope of their employment with the defendants.

8265. That said tortuous conduct above described and blatant disregard for the
safety of the plaintiff, committed by the defendant officers on the aforesaid date was ratified by the
defendants, and was in furtherance of purposes and aims of the defendants.

8366. That the defendants CITY OF JAMESTOWN-and-COUNFY OF

CHAUTAQUA, were willful, wanton, reckless and negligent in employing defendant officers.
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84 67. The defendants CITY OF JAMESTOWN-2nd-COUNTY OF
CHAUTAQUA, are liable under a theory of respondeat superior for the tort claims alleged in this
Complaint.

$568. That by reason of the foregoing, plaintiff suffered severe, painful, permanent

and personal injuries; was rendered sick, sore lame and disabled, and has suffered a loss of
enjoyment and quality of life.

4.— _NEGLIGENTHIRING: _ 3. ASSAULT;

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8669. Plaintiff repeats and restates the allegations contained in the

foregoing paragraphs of this Complaint as if the same were more fully set forth herein.

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6. NEGLIGENT-FRAINING AND SUPERVISION: ——| Formatted: Indent: Left: 0", First line: 0"

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J-——ASSAULT:

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————————198. On December 10, 2020, the plaintiff was unlawfully arrested by the above
named defendants.

49971. That the defendant officers intentionally made physical contact with the
plaintiff, beating him, and causing serious injuries and damages.

41072. That by the conduct described above, the defendant employees
intended to cause the plaintiff apprehension that harmful, injurious and offensive bodily contact
would occur.

+H473. That the conduct aforementioned did in fact cause the plaintiff apprehension
that harmful, injurious, and offensive bodily contact would occur.

2 74. That the defendant officers, while acting in the scope of their
authority as employees of defendants, through their training, experience, and possession of
dangerous weapons, did in fact have such capability to cause the harmful, injurious, and offensive
bodily contact to the plaintiff herein.

+1375. That the conduct of the defendant officers was without just cause
or provocation, and the plaintiff did not consent to such conduct. The defendant officers
intentionally caused the plaintiff to become concerned that they were about to cause harmful or
offensive bodily contact; they had a real and apparent ability to bring about the harmful and

offensive contact; and the defendants not only made offensive contact with the plaintiff, but
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performed a menacing act or gesture that caused the plaintiff to believe that a harmful or offensive

imminent bodily contact was about to occur before it did.

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painfal.That_by reason of the foregoing, the plaintiff suffered severe, painful,

permanent, and personal injuries; was rendered sick, sore, lame and disabled, and suffered loss of

enjoyment of quality of life.

& 4, BATTERY: |<— — { Formatted: Indent: Left: 0", Hanging: 3"

44577. Plaintiff repeats and realleges the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein.

+4678. On December 10, 2020, the plaintiff was unlawfully arrested by the above
named defendants.

+1779. That the defendant employees, intentionally made physical contact with the
plaintiff, beating him, and causing serious injuries and damages.

HS 80. | The defendant employees intended to subject the plaintiff to
harmful, injurious, and offensive bodily contact.

44981. They did, in fact, subject the plaintiff to harmful, injurious, and offensive
bodily contact.

42082. That the physical contact perpetrated by the defendant employees

was without just cause, without provocation, and the plaintiff did not consent to such physical
contact. The force used against the plaintiff was grossly excessive and patently unreasonable under

the circumstances.
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42183. The defendant employees intentionally touched the plaintiff, without

his consent, and caused offensive bodily contact; their intention in causing bodily contact to the
plaintiff is one that a reasonable person would find offensive; the contact was one that was done for
the purpose of harming the plaintiff and offended his reasonable sense of personal dignity and was
one that was otherwise wrongful; the contact also caused physical pain and illness and interfered
with the condition of his body.

42284, The amount of force used by the officer defendants was
excessive and they did not have a reasonable belief that the amount of force they used was necessary
to make the unlawful arrest and to prevent the plaintiff's escape. The physical forced used by the
officers was intentional and was not reasonably necessary under the circumstances. Considering the
circumstances at the time and place of this incident, it was not reasonable for the officers to believe
the plaintiff was resisting arrest or attempting to escape and thy were not justified in using force.

42385. Since the officers arrest of the plaintiff was unlawful, any use of force
against the plaintiff was assault and battery, regardless of whether the force would be deemed
reasonable if applied during a lawful arrest, the plaintiff alleges his arrest was not lawful.

424.—That-by-reason-o Hthe-foregoing_the-plaintiff suffered severe_painful

86. __ That by reason of the foregoing, the |

laintiff suffered severe, painful,

permanent, and personal injuries; was rendered sick, sore, lame and disabled, and suffered loss of

enjoyment of quality of life.

9. BATTERY COMMIFFED-IA-TFHE PEREGRMANCE OFA

125.—Plaintitfrepeats-and vealeges the allegations-contained inthe toregeing-

paregraphs-ofthis-Complaintas ifthe sameavercimoretull-set forth herein,

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iH.

5. 42 U.S.C. § 1983 FAILURE TO INTERVENE: -—— Formatted: Indent: Left: 1.5", Hanging: 0.5"

+4987. Plaintiff repeats and reiterates the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein.

45088. On December 10, 2020, the plaintiff was unlawfully arrested by the above
named defendants.

45489. That the defendant employees while employed and acting in their individual
and official capacity, intentionally made physical contact with the plaintiff, beating him, and
causing serious injuries and damages. Defendants also failed to provide plaintiff with medical
treatment and to protect him from self harm.

+5290. That while the defendant employees were assaulting and battering the
plaintiff and failing to provide him with medical treatment and failing to protect him from self
harm, at the same time, employees were within a few feet of the assault sufficient to constitute
direct contact between plaintiff and defendants.

+5391. That by their conduct, these defendants assumed a duty to protect plaintiff
from the striking, battering and assault by the defendants and their failure to provide plaintiff with
medical treatment and to protect him from self harm.

45492. That said defendants knew plaintiff would suffer harm if they did not take
timely action to protect him.

+5593. That said defendants did not take any steps to protect the plaintiff from the
assault, in fact such individuals stood idly by and watched as plaintiff was repeatedly struck. That
said defendants also did not take any steps to protect plaintiff from defendants failure to provide

plaintiff with medical treatment and to protect him from self harm.
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45694. That plaintiff reasonably relied upon the officers assumption of duty that they
would protect him from an assault by defendant and from failure to provide plaintiff with medical
treatment and to protect him from self harm. -The defendants failed to fulfil their affirmative duty
to intercede.

45795. The officers breached their affirmative duties to intervene to protect the

constitutional rights of the plaintiff from infringement by other law enforcement officers in their
presence. They failed to intercede to prevent the preventable harm caused to plaintiff by the actions
of other officers where the officers observed and had reason to know that the plaintiff was being
assaulted and that he was not being provided with medical treatment or prevented from self harm,
that was a constitutional violation committed by law enforcement officials.

45896. The officers failed to intercede and are liable for the preventable harm
sustained by the plaintiff caused by the actions of other officers where the officers observed or had
reason to know that excessive force was being used, that the plaintiff was being unlawfully arrested,
that they were failing to provide plaintiff with medical treatment and to protect him from self harm.
that constitutional violations were being committed by the other officers.

4559 97. That by reason of the foregoing, plaintiff suffered severe, painful, permanent,
and personal injuries; was rendered sick, sore, lame and disabled, and suffered loss of enjoyment and

quality of life.

foregoing paragraphs of this Complaintas- ifthe samesveremorn-tulh- set forth herein.

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i 6.___42. U.S.C. § 1983 FAILURE TO TREAT: + —fFormatted:undetine SS=sd
DELIBERATE INDIFFERENCE CLAIM TO \>{ Formatted: Font: Bold, Underline 1]
MEDICAL NEEDS: ~_ : : —
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7469 NY CIVIL RIGHTS LAW SECTION 28 CLAIM: \( Formatted: F t: Bold, Underline

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98. Plaintiff repeats and realleges each and every allegation contained in the
foregoing paragraphs of this Complaint as if the same were more fully set forth herein.

+7999. That upon information and belief, at all times hereinafter mentioned,

defendants hired employees, agents, servants and contractors that held themselves out as duly

qualified to render proper and adequate medical treatment and services, including providing physica}

examinations and medical care to those persons under the care and custody of the defendants, «———~| Formatted: Indent: Left: 0°, First line: 0”

including plaintiff.

mentioned, defendants, through their employees, agents, servants and contractors, failed to render
medical evaluation and attention to the plaintiff.

472101. That upon information and belief, on December 10, 2020, defendants,
through their employees, agents, servants and contractors, failed to provide adequate and essential
medical evaluation and care and treatment to the plaintiff; they failed to address the plaintiff's
serious medical and mental health needs; they acted with deliberate indifference to the plaintiff
because he was in need of medical care and they failed, or refused to, obtain such care; they failed to

protect him from health problems that were sufficiently imminent and sure or very likely to cause

him serious illness and needless suffering.
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43 102. Defendants failed in their duty to protect
plaintiff from, including but not limited to, self inflicted harm, and other risks of harm that were
reasonably foreseeable to defendants, i.e., those that they knew about or should have known about.

474103. That by reason of the carelessness, negligence and recklessness and

medical malpractice of the defendants through their employees, agents, servants and contractors, in
the medical care and treatment and services rendered to and for plaintiff, plaintiff was caused to
suffer severe and great bodily injury with accompanying pain and suffering and sustained bodily and
emotional injuries of a permanent nature.

475104. That the policies and procedures, and the willful and wanton conduct
of defendants, their agents, servants and employees, reflect a reckless and careless disregard and
deliberate indifference for the rights of the plaintiff to receive proper and adequate medical
evaluation and attention so as to merit an award of damages against defendants:

4+76105. That the defendants’ actions indicate a willful misconduct, wantonness
and want of care which have raised the presumption of conscious indifference to the consequences to
plaintiff, thus entitling plaintiff to an award of damages.

177106. That the amount of damages sought in this action exceeds the

jurisdictional limits of all lower courts that would otherwise have jurisdiction.

343-—CONSPIRACY-

contained_in-the-foregoing—paragraphs-of this Complaint as ifthe sameswere-morefully-set forth-

herein:

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+79.—That-defendantstogether with-theirasents_servants-and/oremployees-acted-

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44 8. DEMAND FOR PUNITIVE DAMAGES-

BROUGHT AGAINST THE INDIVIDUALLY
NAMED DEFENDANTS ONLY:

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107. The actions of the defendants herein were extreme and outrageous, and shock

the conscience of a reasonable person. Consequently, an award of punitive damages is appropriate

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to punish the defendants for their deliberate indifference and malice towards the plaintiff and his
rights as outlined above.
+83108. As such, plaintiff demands judgment against defendants in an amount
to be determined at trial.
WHEREFORE, the plaintiff respectfully the following forms of relief:
A) Compensatory and special damages against the defendants and
each of them jointly and severally, in an amount to be

determined at trial;

B) Punitive Damages against all individual defendants in an
amount to be determined by a properly instructed jury;

C) Costs, disbursements, and attorneys’ fees as stated above;
D) Interest on the aforementioned judgments;

E) Jury trial; and

F) Such other and further relief that the Court deems just and

proper.

Dated: May-27, 2021 September 2. 2023
Hamburg, New York

SHAW & SHAW P.C.

Blake Zaccagnino
Attorneys for Plaintiff

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(716) 648-3020 Telephone
(716) 648-3730 Fax

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